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° JUDICIAL PANEL
_ MULTIDISTRICT MITIGATION

OCT 16 2002

DOCKET NO. 1456 CLERK'S OFFICE .

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION ©

IN RE PHARMACEUTICAL INDUSTRY AVERAGE WHOLESALE PRICE
LITIGATION

State of Montana, ete. v. Abbott Laboratories, et al., D. Montana, C.A. No. 6:02-9
State of Nevada y, Abbott Laboratories, et al, D. Nevada, C.A. No. 3:02-80
State of Nevada v. American Home Products, et al. D. Nevada, C.A. No. 3:02-202

BEFORE WM. TERRELL HODGES, CHAIRMAN, JOHN F. KEENAN,
MOREY L. SEAR,” BRUCE M. SELYA,” JULIA SMITH GIBBONS, D.
LOWELL JENSEN AND J. FREDERICK MOTZ, JUDGES OF THE PANEL

TRANSFER ORDER

- Presently before the Panel are motions, pursuant to Rule 7.4, R.P.J .P.MLL., 199 F.RD. 425, 435-
36 (2001), by the State plaintiffs in these actions to vacate the Panel's orders conditionally transferring
- these actions to the District of Massachusetts for inclusion in the Section 1407 proceedings occurring
there in this docket. Responding defendants favor inclusion of these actions in Section 1407
proceedings.

~ On the basis of the papers filed and hearing session held, the Panel finds that these three actions
involve common questions of fact with the actions in this liti gation previously transferred to the District
of Massachusetts, and that transfer of these actions to that district for inclusion in the coordinated or
consolidated pretrial proceedings occurring there will serve the convenience of the parties and witnesses
and promote the just and efficient conduct of this litigation. We note that the pending motions to
remand the actions to state court can be presented to and decided by the transferee judge. See, e.g., In
re Ivy, 901 F.2d 7 (2d Cir. 1990); In re Prudential Insurance Company of America Sales Practices
Litigation, 170 F.Supp.2d 1346, 1347-48 (1.P.M.L. 2001). The Panel further finds that transfer is
- appropriate for reasons expressed by the Panel in its original order directing centralization in this
‘docket. The Panel held that the District of Massachusetts was a proper Section 1407 forum for actions
concerning whether (either singly or as part of a conspiracy) the pharmaceutical defendants engaged.

* Judges Sear and Selya did not participate in the decision of this matter. In light of the fact that three other
Panel members could be members of the putative classes in this litigation, i) these Panel members have
renounced any claim as putative class members, and in any event ii) the Panel is invoking the Rule of
Necessity to decide the matter now before it. In re Wireless Telephone Radio Frequency Emissions Products
Liability Litigation, 170 F.Supp.2d 1356, 1357-58 (J.P.M_L. 2001).
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‘in fraudulent marketing, sales and/or billing schemes by unlawfully inflating the average wholesale
price of certain prescription drugs in order to increase the sales of these drugs to health care

professionals and thereby boost the pharmaceutical companies’ profits. See In re Pharmaceutical
Industry Average Wholesale Price Litigation, 201 F.Supp.2d 1378 (J.P.M.L. 2002).

Plaintiffs’ objection to Section 1407 transfer is based primarily on the ground that these actions
do not share sufficient questions of fact with previously centralized actions to warrant inclusion in
Section 1407 proceedings. We disagree. We point out that transfer under Section 1407 has the salutary

- effect of placing all actions in this docket before a single judge who can formulate a pretrial program
that: 1) allows discovery with respect to any non-common issues to proceed concurrently with
discovery on common issues, In re Joseph F. Smith Patent Litigation, 407 F.Supp. 1403, 1404
(J.P.M.L. 1976); and 2) ensures that pretrial proceedings will be conducted in a manner Jeading to the
just and expeditious resolution ofall actions to the overall benefit of the parties. See In re StarLink Corn
Products Liability Litigation, 157 F.Supp.2d 1378 (J.P.M.L. 2001).

ITIS THEREFORE ORDERED that, pursuant to28 U.S.C. § 1407, these actions are transferred
to the District of Massachusetts and, with the consent of that court, assigned to the Honorable Patti B.
Saris for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this docket.

FOR THE PANEL:
. Wm. Terrell Hodges
Chairman

